               Case 12-40475-TLS                           Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                                                 Desc Main
B1 (Official Form 1)(1/08)
                                                                           Document     Page 1 of 50
                                              United States Bankruptcy Court
                                                         District of Nebraska                                                                                 Voluntary Petition
         i
         e
         P
         y
         a
         t
         n
         u
         l
         V
         .
         m
         r
         o
         F
         {
         1
         k
         b
         }




 Name of Debtor (if individual, enter Last, First, Middle):                                            Name of Joint Debtor (Spouse) (Last, First, Middle):
  Duke, Jack Willard Jr.                                                                                  Duke, Joy Lynne


All Other Names used by the Debtor in the last 8 years                                                 All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                            (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                          (if more than one, state all)
  xxx-xx-4218                                                                                             xxx-xx-6240
Street Address of Debtor (No. and Street, City, and State):                                            Street Address of Joint Debtor (No. and Street, City, and State):
  300 NW 126th Street                                                                                     300 NW 126th Street
  Lincoln, NE                                                                                             Lincoln, NE
                                                                                      ZIP Code                                                                                      ZIP Code
                                                                                    68528                                                                                        68528
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
  Lancaster                                                                                               Lancaster
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street address):


                                                                                      ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                      Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                    (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                             Health Care Business                                  Chapter 7
                                                               Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                        in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                            Chapter 11
                                                               Railroad
                                                                                                                     Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                         Stockbroker
                                                                                                                     Chapter 13                       of a Foreign Nonmain Proceeding
                                                               Commodity Broker
    Partnership
                                                               Clearing Bank
    Other (If debtor is not one of the above entities,         Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                               (Check one box)
                                                                       Tax-Exempt Entity
                                                                      (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                               Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                               under Title 26 of the United States                   "incurred by an individual primarily for
                                                               Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                            Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                              Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                       Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                              to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                       Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                            A plan is being filed with this petition.
                                                                                                              Acceptances of the plan were solicited prepetition from one or more
                                                                                                              classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                             THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-          200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199           999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                              million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                              million    million      million        million       million
              Case 12-40475-TLS                     Doc 7       Filed 03/16/12 Entered 03/16/12 11:00:09                                           Desc Main
B1 (Official Form 1)(1/08)
                                                                Document     Page 2 of 50                                                                                   Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Duke, Jack Willard Jr.
(This page must be completed and filed in every case)                                   Duke, Joy Lynne
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Gene T. Oglesby,                                   March 16, 2012
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Gene T. Oglesby, #13122

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 12-40475-TLS                       Doc 7         Filed 03/16/12 Entered 03/16/12 11:00:09                                      Desc Main
B1 (Official Form 1)(1/08)
                                                                   Document     Page 3 of 50                                                                            Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Duke, Jack Willard Jr.
(This page must be completed and filed in every case)                                       Duke, Joy Lynne
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jack Willard Duke, Jr.                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jack Willard Duke, Jr.

 X    /s/ Joy Lynne Duke                                                                       Printed Name of Foreign Representative
     Signature of Joint Debtor Joy Lynne Duke
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     March 16, 2012
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Gene T. Oglesby,
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Gene T. Oglesby, #13122                                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Oglesby Law Offices, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      650 "J" Street, Suite 400
      Lincoln, NE 68508                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: oglesbylaw@alltel.net
      (402) 476-3434 Fax: (402) 476-8002
     Telephone Number
     March 16, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09       Desc Main
                                                                        Document     Page 4 of 50


B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                                 District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                             Case No.
                                                                                         Debtor(s)      Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

          1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                        Best Case Bankruptcy
              Case 12-40475-TLS                               Doc 7            Filed 03/16/12 Entered 03/16/12 11:00:09   Desc Main
                                                                               Document     Page 5 of 50


B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
               Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
               Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Jack Willard Duke, Jr.
                                                   Jack Willard Duke, Jr.
 Date:         March 16, 2012




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                            Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09       Desc Main
                                                                        Document     Page 6 of 50


B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                                 District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                             Case No.
                                                                                         Debtor(s)      Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

          1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                        Best Case Bankruptcy
              Case 12-40475-TLS                               Doc 7            Filed 03/16/12 Entered 03/16/12 11:00:09   Desc Main
                                                                               Document     Page 7 of 50


B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
               Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
               Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Joy Lynne Duke
                                                   Joy Lynne Duke
 Date:         March 16, 2012




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                            Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7              Filed 03/16/12 Entered 03/16/12 11:00:09                Desc Main
                                                                                Document     Page 8 of 50
B6 Summary (Official Form 6 - Summary) (12/07)


          s
          l
          d
          e
          h
          c
          f
          y
          a
          u
          S
          .
          6
          m
          r
          o
          F
          {
          1
          k
          b
          }




                                                                  United States Bankruptcy Court
                                                                                   District of Nebraska
  In re          Jack Willard Duke, Jr.,                                                                              Case No.
                 Joy Lynne Duke
                                                                                                                ,
                                                                                               Debtors                Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF           ASSETS               LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  490,000.00


B - Personal Property                                             Yes                 4                   15,431.18


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                         480,370.59


E - Creditors Holding Unsecured                                   Yes                 2                                          37,267.68
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 11                                        232,864.59
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                8,264.85
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                8,240.13
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            26


                                                                                Total Assets             505,431.18


                                                                                                 Total Liabilities              750,502.86




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                Best Case Bankruptcy
                 Case 12-40475-TLS                           Doc 7              Filed 03/16/12 Entered 03/16/12 11:00:09              Desc Main
                                                                                Document     Page 9 of 50
Form 6 - Statistical Summary (12/07)


          D
          R
          d
          L
          n
          e
          C
          f
          y
          u
          l
          c
          s
          i
          a
          t
          S
          .
          6
          m
          r
          o
          F
          {
          1
          k
          b
          }




                                                                  United States Bankruptcy Court
                                                                                  District of Nebraska
  In re           Jack Willard Duke, Jr.,                                                                                  Case No.
                  Joy Lynne Duke
                                                                                                                ,
                                                                                             Debtors                       Chapter            7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)                                                            0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                37,267.68

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                        0.00

              Student Loan Obligations (from Schedule F)                                                                0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                        0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                        0.00

                                                                                    TOTAL                       37,267.68


              State the following:

              Average Income (from Schedule I, Line 16)                                                             8,264.85

              Average Expenses (from Schedule J, Line 18)                                                           8,240.13

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              7,799.99


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       29,234.58

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                37,139.60

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                         128.08

              4. Total from Schedule F                                                                                                232,864.59

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            262,227.25




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                  Desc Main
                                                                            Document      Page 10 of 50
B6A (Official Form 6A) (12/07)


          y
          t
          p
          o
          r
          P
          a
          R
          -
          A
          l
          u
          d
          e
          h
          c
          S
          {
          1
          k
          b
          }




  In re          Jack Willard Duke, Jr.,                                                                             Case No.
                 Joy Lynne Duke
                                                                                                         ,
                                                                                           Debtors
                                                                SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                         Husband,    Current Value of
                                                                                 Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                            Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                        Community Deducting  any Secured
                                                                                                                    Claim or Exemption

300 NW 126th Street                                                              Personal Residence          J                  325,000.00               354,234.58
Lincoln, NE 68528

310 NW 126th Street                                                                                          J                  165,000.00               126,136.01
Lincoln, NE 68528




                                                                                                         Sub-Total >            490,000.00       (Total of this page)

                                                                                                                 Total >        490,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                         (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                       Desc Main
                                                                            Document      Page 11 of 50
B6B (Official Form 6B) (12/07)


          y
          t
          p
          a
          n
          o
          s
          r
          P
          -
          B
          l
          u
          d
          e
          h
          c
          S
          {
          1
          k
          b
          }




  In re          Jack Willard Duke, Jr.,                                                                                Case No.
                 Joy Lynne Duke
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      Pinnacle Bank                                                     J                        1,192.22
       accounts, certificates of deposit, or                     P.O. Box 598
       shares in banks, savings and loan,                        Gretna, NE 68028-0598
       thrift, building and loan, and
       homestead associations, or credit                         Checking (Pleasantdale Quick Stop)                                J                            23.69
       unions, brokerage houses, or                              Jones National Bank
       cooperatives.                                             P.O. Box 469
                                                                 Seward, NE 68434

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Miscellaneous Household Items                                     J                        3,000.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                             Miscellaneous Books and Collectibles                              J                           250.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Miscellaneous Clothing Items                                      J                           100.00

7.     Furs and jewelry.                                         Miscellaneous Jewelry                                             J                           575.00

8.     Firearms and sports, photographic,                        Music Equipment: Guitars and Drums                                J                           500.00
       and other hobby equipment.

9.     Interests in insurance policies.                          Roth IRA                                                          H                        2,723.33
       Name insurance company of each                            PFS Investments, Inc.
       policy and itemize surrender or                           Primerica Shareholder Services
       refund value of each.                                     P.O. Box 9662
                                                                 Providence, RI 02940-9662
                                                                 Is this cash value?




                                                                                                                                   Sub-Total >            8,364.24
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                       Desc Main
                                                                            Document      Page 12 of 50
B6B (Official Form 6B) (12/07) - Cont.




  In re          Jack Willard Duke, Jr.,                                                                                Case No.
                 Joy Lynne Duke
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 Roth IRA                                                          W                        2,566.94
                                                                 PFS Investments, Inc.
                                                                 Primerica Shareholder Services
                                                                 P.O. Box 9662
                                                                 Providence, RI 02940-9662
                                                                 Is this cash value?

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          Stock                                                             J                              0.00
    and unincorporated businesses.                               Duke and Company
    Itemize.                                                     300 NW 126th Street
                                                                 Lincoln, NE 68528

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                                   Sub-Total >            2,566.94
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                       Desc Main
                                                                            Document      Page 13 of 50
B6B (Official Form 6B) (12/07) - Cont.




  In re          Jack Willard Duke, Jr.,                                                                                Case No.
                 Joy Lynne Duke
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2001 Ford Windstar                                                J                        2,200.00
    other vehicles and accessories.
                                                                 1999 Ford F150                                                    J                        2,000.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                           15 Acres of Land farmed by a 3rd party jointly on                 J                              0.00
    particulars.                                                 neighbor's land. No current crops but average
                                                                 approximately $1,000.00 per year.



                                                                                                                                   Sub-Total >            4,200.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                        Desc Main
                                                                            Document      Page 14 of 50
B6B (Official Form 6B) (12/07) - Cont.




  In re          Jack Willard Duke, Jr.,                                                                                Case No.
                 Joy Lynne Duke
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          Above ground pool, trampoline and miscellaneous                    J                          300.00
    not already listed. Itemize.                                 outdoor furniture.




                                                                                                                                   Sub-Total >              300.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         15,431.18
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                          Desc Main
                                                                             Document      Page 15 of 50
 B6C (Official Form 6C) (12/07)


           x
           E
           s
           m
           i
           a
           y
           t
           p
           o
           r
           P
           -
           C
           l
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




   In re          Jack Willard Duke, Jr.,                                                                                 Case No.
                  Joy Lynne Duke
                                                                                                                 ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of            Current Value of
                    Description of Property                                               Each Exemption                       Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Real Property
300 NW 126th Street                                                              Neb. Rev. Stat. §§ 40-101 - 40-118                35,772.31               325,000.00
Lincoln, NE 68528

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Pinnacle Bank                                     Neb. Rev. Stat. § 25-1552                                                          1,192.22                 1,192.22
P.O. Box 598
Gretna, NE 68028-0598

Checking (Pleasantdale Quick Stop)                                               Neb. Rev. Stat. § 25-1552                             23.69                       23.69
Jones National Bank
P.O. Box 469
Seward, NE 68434

Household Goods and Furnishings
Miscellaneous Household Items                                                    Neb. Rev. Stat. § 25-1556 (3)                       3,000.00                 3,000.00

Books, Pictures and Other Art Objects; Collectibles
Miscellaneous Books and Collectibles                Neb. Rev. Stat. § 25-1552                                                         250.00                     250.00

Wearing Apparel
Miscellaneous Clothing Items                                                     Neb. Rev. Stat. § 25-1556(2)                         100.00                     100.00

Furs and Jewelry
Miscellaneous Jewelry                                                            Neb. Rev. Stat. § 25-1552                            575.00                     575.00

Firearms and Sports, Photographic and Other Hobby Equipment
Music Equipment: Guitars and Drums              Neb. Rev. Stat. § 25-1552                                                             500.00                     500.00

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Ford Windstar                                                               Neb. Rev. Stat. § 25-1556(4)                        2,200.00                 2,200.00

1999 Ford F150                                                                   Neb. Rev. Stat. § 25-1552                           2,000.00                 2,000.00

Other Personal Property of Any Kind Not Already Listed
Above ground pool, trampoline and                 Neb. Rev. Stat. § 25-1552                                                           300.00                     300.00
miscellaneous outdoor furniture.




                                                                                                                 Total:            45,913.22               335,140.91
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                            Desc Main
                                                                             Document      Page 16 of 50
 B6D (Official Form 6D) (12/07)


           m
           a
           g
           n
           H
           s
           o
           t
           i
           r
           C
           -
           D
           l
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




   In re          Jack Willard Duke, Jr.,                                                                                       Case No.
                  Joy Lynne Duke
                                                                                                                   ,
                                                                                                     Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                           O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                           T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                       I    Q   U                       PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                           G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. 614100-20-150345-1                                          Equity Line of Credit                                    E
                                                                                                                                 D

HFC                                                                     300 NW 126th Street
P.O. Box 3425                                                           Lincoln, NE 68528
Buffalo, NY 14240-9733
                                                                    J

                                                                         Value $                           325,000.00                         18,659.90            18,659.90
Account No. ****6818                                                    310 NW 126th Street
                                                                        Lincoln, NE 68528
Jones National Bank & Trust
P.O. Box 469
Seward, NE 68434
                                                                    J

                                                                         Value $                           165,000.00                        110,225.85                    0.00
Account No. ****121778                                                  310 NW 126th Street
                                                                        Lincoln, NE 68528
Jones National Bank & Trust
P.O. Box 469
Seward, NE 68434
                                                                    J

                                                                         Value $                           165,000.00                         15,910.16                    0.00
Account No. 0003254324730000                                            2nd Mortgage

M&I Bank FSB                                                            300 NW 126th Street
P.O. Box 3203                                                           Lincoln, NE 68528
Milwaukee, WI 53201-3203
                                                                    J

                                                                         Value $                           325,000.00                         46,346.99            10,574.68
                                                                                                                         Subtotal
 1
_____ continuation sheets attached                                                                                                           191,142.90            29,234.58
                                                                                                                (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                             Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                             Desc Main
                                                                             Document      Page 17 of 50
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                        Case No.
                  Joy Lynne Duke
                                                                                                                    ,
                                                                                                     Debtors

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                                T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. 0211603358                                                  Refinanced 1st Deed of Trust                              E
                                                                                                                                  D

Nation Star Mortgage                                                    300 NW 126th Street
P.O. Box 650783                                                         Lincoln, NE 68528
Dallas, TX 75265
                                                                    J

                                                                         Value $                           325,000.00                         289,227.69                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                              289,227.69                   0.00
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                             Total            480,370.59           29,234.58
                                                                                                   (Report on Summary of Schedules)

 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                             Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                             Desc Main
                                                                            Document      Page 18 of 50
B6E (Official Form 6E) (12/07)


          m
          a
          y
          P
          U
          g
          n
          H
          s
          o
          t
          i
          r
          C
          -
          E
          l
          u
          d
          e
          h
          c
          S
          {
          1
          k
          b
          }




  In re          Jack Willard Duke, Jr.,                                                                                  Case No.
                 Joy Lynne Duke
                                                                                                              ,
                                                                                           Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                              Desc Main
                                                                             Document      Page 19 of 50
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                        Case No.
                  Joy Lynne Duke
                                                                                                                    ,
                                                                                                     Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. MH-00-002-673-000                                           2011 Property Taxes on 310 NW 126th                       E
                                                                        Street Modular House                                      D

Lancaster County Treasurer
575 South 10th Street                                                                                                                                        0.00
Lincoln, NE 68508
                                                                    J

                                                                                                                                                   726.44                726.44
Account No. 04-20-300-017-000                                           2008 & 2009 Property Tax on Land
                                                                        Parcel that modular house is on.
Lancaster County Treasurer
575 South 10th Street                                                                                                                                        0.00
Lincoln, NE 68508
                                                                    J

                                                                                                                                                 1,936.80              1,936.80
Account No. 04-20-300-017-000                                           2010 and 2011 Property Tax on Land
                                                                        Parcel that Modular House is on
Lancaster County Treasurer
575 South 10th Street                                                                                                                                        128.08
Lincoln, NE 68508
                                                                    J

                                                                                                                                                 1,314.60              1,186.52
Account No. XX-XXXXXXX                                                  Trust Fund Payroll Taxes
                                                                        Duke and Company
U.S. Treasury-IRS
100 Centennial Mall North                                                                                                                                    0.00
Room 160
                                                                    J
Lincoln, NE 68508-3877

                                                                                                                                                33,289.84             33,289.84
Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           128.08
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)           37,267.68             37,139.60
                                                                                                                             Total                           128.08
                                                                                                   (Report on Summary of Schedules)             37,267.68             37,139.60

 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 20 of 50
 B6F (Official Form 6F) (12/07)


           m
           a
           y
           p
           N
           U
           g
           n
           H
           s
           o
           t
           i
           r
           C
           -
           F
           l
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q    U
                                                                                                                                                          AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U    T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D    D
                                                                                                                                             N   A
Account No. 01200-107314115                                                              Bills from Pleasant Dale Quick Stop                 T   T
                                                                                                                                                 E
                                                                                                                                                 D

ADT Security Services, Inc.
P.O. Box 371956                                                                      J
Pittsburgh, PA 15250

                                                                                                                                                                        3,615.24
Account No. 4227-0931-7222-4390                                                          Credit Account

Applied Bank
P.O. Box 11170                                                                       J
Wilmington, DE 19850-1170

                                                                                                                                                                        2,087.36
Account No. 5178-0523-6984-1792                                                          Credit Account

Capital One
P.O. Box 60599                                                                       J
City Of Industry, CA 91716-0599

                                                                                                                                                                          940.44
Account No. 5178-0521-4681-1431                                                          Credit Account

Capital One
P.O. Box 60599                                                                       J
City Of Industry, CA 91716-0599

                                                                                                                                                                        1,783.38

                                                                                                                                           Subtotal
 10 continuation sheets attached
_____                                                                                                                                                                   8,426.42
                                                                                                                                 (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                             S/N:20251-090406   Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 21 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 4862-3625-0261-6884                                                          Credit Account                                          E
                                                                                                                                                 D

Capital One
P.O. Box 60599                                                                       J
City Of Industry, CA 91716-0599

                                                                                                                                                                        260.76
Account No. 6019180349356549                                                             Credit Account: Dental Expenses

Care Credit/GE Money
P.O. Box 960061                                                                      J
Orlando, FL 32896-0061

                                                                                                                                                                      2,470.48
Account No. 6278000042940306                                                             Credit Account

Catherine's
P.O. Box 659728                                                                      J
San Antonio, TX 78265-9728

                                                                                                                                                                        538.43
Account No. 4121-3707-9999-2626                                                          Credit Account

Chase/Providian
Cardmember Service                                                                   J
P.O. Box 94014
Palatine, IL 60094-4014
                                                                                                                                                                      1,029.31
Account No. 33142                                                                        Bills from Pleasant Dale Quick Stop

Checkmate
P.O. Box 318                                                                         J
Fremont, NE 68026

                                                                                                                                                                        695.37

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      4,994.35
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 22 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 749-05354                                                                    Bills from Pleasant Dale Quick Stop                     E
                                                                                                                                                 D

Cintas Corp.
1601 N. 24th Street                                                                  J
Omaha, NE 68110

                                                                                                                                                                        427.33
Account No.                                                                              Collections Account: Pleasantdale Quick Stop

Collect America
16011 College Boulevard                                                              J
Suite 101
Lenexa, KS 66219
                                                                                                                                                                        588.98
Account No. 1184                                                                         Bills from Pleasant Dale Quick Stop
                                                                                         (Innovative Electric Technologies)
Commercial Recovery Authority
8309 Laurel Canyon Boulevard                                                         J
Suite 303
Sun Valley, CA 91352
                                                                                                                                                                        500.00
Account No. C186544                                                                      Bills from Pleasant Dale Quick Stop

Credit Bureau of Lincoln
P.O. Box 318                                                                         J
Fremont, NE 68026

                                                                                                                                                                        706.32
Account No. 07023382337                                                                  Collections: Pleasandale Quick Stop

Credit Collection Services
Two Wells Avenue                                                                     J
Newton Center, MA 02459

                                                                                                                                                                        160.09

           2
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      2,382.72
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 23 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 4071-9302-0107-9245                                                          Credit Account                                          E
                                                                                                                                                 D

Credit One Bank
P.O. Box 60500                                                                       J
City Of Industry, CA 91716-0500

                                                                                                                                                                      1,343.21
Account No. 0593601108447846                                                             Credit Account

Furniture Row
HSBC Retail Services                                                                 J
P.O. Box 60107
City Of Industry, CA 91716-0107
                                                                                                                                                                      1,714.29
Account No. 593119-01                                                                    Bills from Pleasant Dale Quick Stop

Galaxy Cablevision
P.O. Box 573                                                                         J
Barlow, KY 42024

                                                                                                                                                                        185.96
Account No. 0010105589                                                                   Bills from Pleasant Dale Quick Stop

General Fire & Safety
2431 Fairfield Street                                                                J
Suite A
Lincoln, NE 68521
                                                                                                                                                                          74.31
Account No. 614100-20-150345-1                                                           Credit Account

HFC
P.O. Box 4153-K                                                                      J
Carol Stream, IL 60197-4153

                                                                                                                                                                    18,659.90

           3
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    21,977.67
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 24 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 5407-9150-2013-7334                                                          Credit Account                                          E
                                                                                                                                                 D

HSBC Card Services
P.O. Box 60102                                                                       J
City Of Industry, CA 91716-0102

                                                                                                                                                                        254.81
Account No. 68928                                                                        Bills from Pleasant Dale Quick Stop

Jineco Equipment
4630 S. 85th Street                                                                  J
Omaha, NE 68127

                                                                                                                                                                        588.98
Account No. 90295                                                                        Bills from Pleasant Dale Quick Stop

Lee Refrigeration
734 Seward Street                                                                    J
P.O. Box 425
Seward, NE 68434
                                                                                                                                                                        810.96
Account No. 163080                                                                       Bills from Pleasant Dale Quick Stop

Lincoln Journal Star
P.O. Box 81689                                                                       J
Lincoln, NE 68501

                                                                                                                                                                        665.41
Account No. 061539-00                                                                    Medical Bill

NE Pulmonary Specialties, P.C.
1500 S. 48th Street                                                                  J
Suite 800
Lincoln, NE 68506-1225
                                                                                                                                                                        349.13

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      2,669.29
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 25 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 25487                                                                        Medical Bill                                            E
                                                                                                                                                 D

Nebraska Heart Hospital
7500 S. 91st Street                                                                  J
Lincoln, NE 68526

                                                                                                                                                                    56,870.95
Account No. 15072                                                                        Medical Bills

Nebraska Heart Institute
7500 S. 91st Street                                                                  J
Lincoln, NE 68501-2585

                                                                                                                                                                      4,000.69
Account No. 83054                                                                        Medical Bill

Nebraska Heart Institute
7440 South 91st Street                                                               J
Lincoln, NE 68526

                                                                                                                                                                        181.58
Account No. 88672                                                                        Medical Bill

Nebraska Heart Institute
7440 South 91st Street                                                               J
Lincoln, NE 68526

                                                                                                                                                                      1,817.43
Account No. 1130                                                                         Medical Bill

Nebraska Heart Institute
7440 South 91st Street                                                               J
Lincoln, NE 68526

                                                                                                                                                                      1,952.52

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    64,823.17
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 26 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 360897                                                                       Medical Bill                                            E
                                                                                                                                                 D

Nebraska Heart Institute
7440 South 91st Street                                                               J
Lincoln, NE 68526

                                                                                                                                                                          49.16
Account No. N357091                                                                      Medical Bill

Nebraska Heart Institute
7440 South 91st Street                                                               J
Lincoln, NE 68526

                                                                                                                                                                    24,190.50
Account No. 061539-00                                                                    Medical Bill

Pulmonary Specialties, PC
1500 S. 48th Street                                                                  J
Suite 800
Lincoln, NE 68506-1225
                                                                                                                                                                        349.13
Account No.                                                                              Bills from Pleasant Dale Quick Stop

Reinhardt Contracting, Inc.
Attention: Todd                                                                      J
9251 SW 126th Street
Denton, NE 68339
                                                                                                                                                                      1,150.00
Account No.                                                                              Bills from Pleasant Dale Quick Stop

RJ Reynolds
AIMS Pay-Plaza 6                                                                     J
P.O. Box 2959
Winston Salem, NC 27102
                                                                                                                                                                        140.20

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    25,878.99
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 27 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 5121-0797-5757-8684                                                          Credit Account                                          E
                                                                                                                                                 D

Sears Mastercard
P.O. Box 688957                                                                      J
Des Moines, IA 50368-8957

                                                                                                                                                                      1,524.51
Account No.                                                                              Bills from Pleasant Dale Quick Stop

Service Techs
P.O. Box 22381                                                                       J
Lincoln, NE 68542

                                                                                                                                                                      1,363.93
Account No. 3393                                                                         Bills from Pleasant Dale Quick Stop

Seward County Independent
Mildord Times                                                                        J
129 S. 6th, P.O. Box 449
Seward, NE 68434
                                                                                                                                                                          52.75
Account No. 668052228                                                                    Credit Account

Shell
P.O. Box 183018                                                                      J
Columbus, OH 43218-3018

                                                                                                                                                                      2,081.04
Account No. 07793860                                                                     PDQ Quick Stop Bill

SKO Brenner American
P.O. Box 9230                                                                        J
Baldwin, NY 11510

                                                                                                                                                                      3,615.24

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      8,637.47
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 28 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Pleasantdale Quick Stop                                 E
                                                                                                                                                 D

Slater Brother's Grain Co. Inc
1824 Grant Street                                                                    J
Holdrege, NE 68949

                                                                                                                                                                    56,456.26
Account No. 17132                                                                        Bills from Pleasant Dale Quick Stop

Tan-Aire Inc.
4835 South Haven Drive                                                               J
Lincoln, NE 68516

                                                                                                                                                                        290.13
Account No. 4352-3750-5869-3542                                                          Credit Account

Target National Bank
P.O. Box 660170                                                                      J
Dallas, TX 75266-0170

                                                                                                                                                                      6,198.48
Account No.                                                                              Bills from Pleasant Dale Quick Stop

The Crete News
P.O. Box 40                                                                          J
Crete, NE 68333

                                                                                                                                                                          69.00
Account No. 6057-3016240                                                                 Bills from Pleasant Dale Quick Stop

The Garbage Company
P.O. Box 158                                                                         J
Seward, NE 68434

                                                                                                                                                                        367.78

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    63,381.65
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                               Desc Main
                                                                             Document      Page 29 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                     Case No.
                  Joy Lynne Duke
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U    D
                    CREDITOR'S NAME,                                             O                                                           O   N    I
                    MAILING ADDRESS                                              D   H                                                       N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                                 B                                                           I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                   (See instructions above.)                                     R                                                           E   D    D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. N357091                                                                      Collections Account: St. Elizabeth Hospital Bill        E
                                                                                         & Bryan LGH West                                        D

Tiburon Financial, LLC
P.O. Box 5756                                                                        J
Lincoln, NE 68505-0756

                                                                                                                                                                    24,190.50
Account No. 6011-5750-1899-3852                                                          Credit Account

Tractor Supply Company
Credit Plan                                                                          J
Processing Center
Des Moines, IA 50364-0001
                                                                                                                                                                      1,910.43
Account No. 7661R-0000005354                                                             Collections Account: Cintas

Transworld Systems
5799 Broadmoor Street #312                                                           J
Mission, KS 66202

                                                                                                                                                                        427.33
Account No. 429732                                                                       Medical Bill loan

Union Bank and Trust Company
3643 South 48th Street                                                               J
P.O. Box 82535
Lincoln, NE 68501-2535
                                                                                                                                                                      2,169.80
Account No. 13199                                                                        Bills from Pleasant Dale Quick Stop

Waldron, Riggs, & Lloyd, CPA
Plaza Mall South, Suite 306                                                          J
1919 South 40th Street
Lincoln, NE 68506
                                                                                                                                                                        500.00

           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    29,198.06
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                 Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                                      Desc Main
                                                                             Document      Page 30 of 50
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jack Willard Duke, Jr.,                                                                                           Case No.
                  Joy Lynne Duke
                                                                                                                           ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U    D
                    CREDITOR'S NAME,                                             O                                                                  O   N    I
                    MAILING ADDRESS                                              D   H                                                              N   L    S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I    P
                                                                                 B                                                                  I   Q    U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U    T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I    E
                   (See instructions above.)                                     R                                                                  E   D    D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 090789568                                                                    Bills from Pleasant Dale Quick Stop                            E
                                                                                                                                                        D

Windstream Communication
P.O. Box 9001908                                                                     J
Louisville, KY 40290-1908

                                                                                                                                                                               494.80
Account No.




Account No.




Account No.




Account No.




           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                               494.80
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)               232,864.59


 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                     Best Case Bankruptcy
                   Case 12-40475-TLS                         Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09                   Desc Main
                                                                            Document      Page 31 of 50
B6G (Official Form 6G) (12/07)


           L
           i
           p
           U
           s
           a
           n
           C
           y
           r
           o
           t
           x
           E
           -
           G
           l
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




  In re             Jack Willard Duke, Jr.,                                                                        Case No.
                    Joy Lynne Duke
                                                                                                        ,
                                                                                        Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.

                     Jack W. Duke III/Kimberly Duke                                        Son and daughter-in-law are purchasing the
                     310 NW 126th                                                          modular house and property located at 310 NW
                     Lincoln, NE 68528                                                     126th, Lincoln, NE 68528. Sale was included in the
                                                                                           2008 tax return. The propery was used as
                                                                                           collateral for operating loans for the Pleasant Dale
                                                                                           Quick Stop, a business which has since been
                                                                                           disbanded.

                     Robert Slater                                                         Leasor for the former premises of Pleasant Dale
                     Slater Brothers Grain Co, Inc.                                        Quick Stop, a business Joy Duke was involved in
                     1824 Grant Street                                                     with daughter Candy Giesler and daughter-in-law
                     Holdrege, NE 68949                                                    Kimberly Duke.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                Case 12-40475-TLS                            Doc 7           Filed 03/16/12 Entered 03/16/12 11:00:09         Desc Main
                                                                            Document      Page 32 of 50
B6H (Official Form 6H) (12/07)


           s
           r
           t
           o
           C
           -
           H
           l
           u
           d
           e
           h
           c
           S
           {
           1
           k
           b
           }




  In re          Jack Willard Duke, Jr.,                                                                        Case No.
                 Joy Lynne Duke
                                                                                                      ,
                                                                                        Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

                  Candy Giesler                                                            Robert Slater
                  1028 Larkspur                                                            Slater Grain Co., Inc.
                  Hickman, NE 68372                                                        1824 Grant Street
                                                                                           Holdrege, NE 68949

                  Candy Giesler                                                            Jones National Bank
                  1028 Larkspur                                                            P.O. Box 469
                  Hickman, NE 68372                                                        Seward, NE 68434-0469

                  Jack W. Duke III                                                         Robert Slater
                  310 NW 126th                                                             Slater Grain Co., Inc.
                  Lincoln, NE 68528                                                        1824 Grant Street
                                                                                           Holdrege, NE 68949

                  Jack W. Duke III                                                         Jones National Bank
                  310 NW 126th                                                             P.O. Box 469
                  Lincoln, NE 68528                                                        Seward, NE 68434-0469

                  Jason Giesler                                                            Robert Slater
                  1028 Larkspur                                                            Slater Grain Co., Inc.
                  Hickman, NE 68372                                                        1824 Grant Street
                                                                                           Holdrege, NE 68949

                  Jason Giesler                                                            Jones National Bank
                  1028 Larkspur                                                            P.O. Box 469
                  Hickman, NE 68372                                                        Seward, NE 68434-0469

                  Kimberly D. Duke                                                         Robert Slater
                  310 NW 126th                                                             Slater Grain Co., Inc.
                  Lincoln, NE 68528                                                        1824 Grant Street
                                                                                           Holdrege, NE 68949

                  Kimberly D. Duke                                                         Jones National Bank
                  310 NW 126th                                                             P.O. Box 469
                  Lincoln, NE 68528                                                        Seward, NE 68434-0469




       0
               continuation sheets attached to Schedule of Codebtors
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
          Case 12-40475-TLS                 Doc 7      Filed 03/16/12 Entered 03/16/12 11:00:09                            Desc Main
                                                      Document      Page 33 of 50
B6I (Official Form 6I) (12/07)

          Jack Willard Duke, Jr.
 In re    Joy Lynne Duke                                                                               Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                           DEBTOR                                                    SPOUSE
Occupation                         Estimator                                                 Office Manager
Name of Employer                   Duke & Company (Self-Employed)                            Duke & Company (Self-Employed)
How long employed                  20 Years                                                  20 Years
Address of Employer                300 NW 126th                                              300 NW 126th
                                   Lincoln, NE 68528                                         Lincoln, NE 68528
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                        SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                           $      4,333.33   $                 3,466.66
2. Estimate monthly overtime                                                                            $          0.00   $                     0.00

3. SUBTOTAL                                                                                              $        4,333.33        $         3,466.66

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          905.56        $          670.91
     b. Insurance                                                                                        $            0.00        $            0.00
     c. Union dues                                                                                       $            0.00        $            0.00
     d. Other (Specify):                                                                                 $            0.00        $            0.00
                                                                                                         $            0.00        $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $          905.56        $          670.91

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        3,427.77        $         2,795.75

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $          883.33        $             0.00
8. Income from real property                                                                             $          907.00        $             0.00
9. Interest and dividends                                                                                $            0.00        $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):           VA Disability                                                                       $          251.00        $             0.00
                                                                                                         $            0.00        $             0.00
12. Pension or retirement income                                                                         $            0.00        $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $        2,041.33        $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        5,469.10        $         2,795.75

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                    $              8,264.85
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
          Case 12-40475-TLS            Doc 7     Filed 03/16/12 Entered 03/16/12 11:00:09                      Desc Main
                                                Document      Page 34 of 50
B6J (Official Form 6J) (12/07)

          Jack Willard Duke, Jr.
 In re    Joy Lynne Duke                                                                     Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

 Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                2,331.58
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                         $                  400.00
                   b. Water and sewer                                                                      $                   50.00
                   c. Telephone                                                                            $                  110.00
                   d. Other Direct TV                                                                      $                  115.00
3. Home maintenance (repairs and upkeep)                                                                   $                  100.00
4. Food                                                                                                    $                  600.00
5. Clothing                                                                                                $                   50.00
6. Laundry and dry cleaning                                                                                $                   20.00
7. Medical and dental expenses                                                                             $                  800.00
8. Transportation (not including car payments)                                                             $                  300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                   10.00
10. Charitable contributions                                                                               $                   25.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                  154.55
                   b. Life                                                                                 $                   70.10
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  160.00
                   e. Other AD&D                                                                           $                   19.80
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Property Tax on Modular & Land at 310 NW 126th                                  $                  167.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                    0.00
                   b. Other See Detailed Expense Attachment                                                $                2,757.10
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other                                                                                                  $                    0.00
    Other                                                                                                  $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                   $                8,240.13
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                8,264.85
b. Average monthly expenses from Line 18 above                                                             $                8,240.13
c. Monthly net income (a. minus b.)                                                                        $                   24.72
          Case 12-40475-TLS         Doc 7      Filed 03/16/12 Entered 03/16/12 11:00:09      Desc Main
                                              Document      Page 35 of 50
B6J (Official Form 6J) (12/07)
          Jack Willard Duke, Jr.
 In re    Joy Lynne Duke                                                      Case No.
                                                            Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                               Detailed Expense Attachment



Other Installment Payments:
2nd Mortgage                                                                             $             500.10
Line of Credit                                                                           $             450.00
Jones National Operating Loans (Pleasant Dale Quick Stop)                                $           1,607.00
Roth IRA Deposits                                                                        $             200.00
Total Other Installment Payments                                                         $           2,757.10
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                        Desc Main
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                        Document      Page 36 of 50
                                                                  United States Bankruptcy Court
                                                                                  District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                                               Case No.
                                                                                             Debtor(s)                    Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                28       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date March 16, 2012                                                            Signature    /s/ Jack Willard Duke, Jr.
                                                                                             Jack Willard Duke, Jr.
                                                                                             Debtor


 Date March 16, 2012                                                            Signature    /s/ Joy Lynne Duke
                                                                                             Joy Lynne Duke
                                                                                             Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                    Desc Main
                                                                        Document      Page 37 of 50
B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                  District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                                     Case No.
                                                                                             Debtor(s)          Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                                __________________________________________

                1. Income from employment or operation of business
    None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $66,704.00                               2009 Taxes
                           $95,996.00                               2008 Taxes
                           $66,296.00                               2010 Taxes




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                    Desc Main
                                                                        Document      Page 38 of 50

                                                                                                                                                             2

                2. Income other than from employment or operation of business
    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE

                3. Payments to creditors
    None        Complete a. or b., as appropriate, and c.
     
                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
                and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
                of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
                creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                             AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                           AMOUNT PAID         OWING

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                          AMOUNT
                                                                                   DATES OF                                PAID OR
                                                                                   PAYMENTS/                             VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                            TRANSFERS         OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                    AMOUNT PAID         OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments
    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY              STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                 DISPOSITION
 Credit Management Services,                                                                 In The County Court of
 Inc. vs. Joy Duke and Jack                                                                  Lancaster Court
 Duke
 CI10-5867

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                     DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                  PROPERTY



Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                 Desc Main
                                                                        Document      Page 39 of 50

                                                                                                                                                              3

                5. Repossessions, foreclosures and returns
    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
                or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

                6. Assignments and receiverships
    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

                7. Gifts
    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

                8. Losses
    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS          DATE OF LOSS

                9. Payments related to debt counseling or bankruptcy
    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
    OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                    Desc Main
                                                                        Document      Page 40 of 50

                                                                                                                                                                 4

                10. Other transfers
    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                        AND VALUE RECEIVED

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

                11. Closed financial accounts
    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING

                12. Safe deposit boxes
    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                 SURRENDER, IF ANY

                13. Setoffs
    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                          AMOUNT OF SETOFF

                14. Property held for another person
    None        List all property owned by another person that the debtor holds or controls.
     

                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                                PROPERTY                        LOCATION OF PROPERTY
 Jack W. Duke III & Kimberly Duke                                                 Modular House & Property                310 NW 126th
 310 NW 126th                                                                     2008 appraisal $165,000                 Lincoln, NE 68528
 Lincoln, NE 68528




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                  Desc Main
                                                                        Document      Page 41 of 50

                                                                                                                                                              5

                15. Prior address of debtor
    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

                16. Spouses and Former Spouses
    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
               Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                the community property state.

 NAME

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
               liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
                known, the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                       LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                       LAW

    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                   Desc Main
                                                                        Document      Page 42 of 50

                                                                                                                                                                6

                18 . Nature, location and name of business
    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
                securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                 NATURE OF BUSINESS               ENDING DATES
 Duke & Company                      XX-XXXXXXX                            300 NW 126th            Mechanical Demolition            July 1994 to present
                                                                           Lincoln, NE 68528       Sub-Contractor                   (still in operation)
 Pleasant Dale Quick                 ??                                    ??                      ??                               ??
 Stop

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements
    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 Joy L. Duke                                                                                                1994 to present
 300 NW 126th
 Lincoln, NE 68528

    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
               books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED
 Prosser & Campbell/Mike Prosser                       P.O. Box 470                                         Yearly Tax Returns
                                                       Falls City, NE 68355




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                       Desc Main
                                                                        Document      Page 43 of 50

                                                                                                                                                                  7

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS
 Joy L. Duke                                                                                        300 NW 126th
                                                                                                    Lincoln, NE 68528

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                          DATE ISSUED

                20. Inventories
    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                   DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                        (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders
    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     
 NAME AND ADDRESS                                                               NATURE OF INTEREST                           PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                   NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                              OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders
    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                                  DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                              DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                      Best Case Bankruptcy
             Case 12-40475-TLS                            Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                           Desc Main
                                                                        Document      Page 44 of 50

                                                                                                                                                                        8

                24. Tax Consolidation Group.
    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                       TAXPAYER IDENTIFICATION NUMBER (EIN)
 Duke & Company                                                                                                   XX-XXXXXXX

                25. Pension Funds.
    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                             TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 16, 2012                                                            Signature    /s/ Jack Willard Duke, Jr.
                                                                                             Jack Willard Duke, Jr.
                                                                                             Debtor


 Date March 16, 2012                                                            Signature    /s/ Joy Lynne Duke
                                                                                             Joy Lynne Duke
                                                                                             Joint Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                  Desc Main
                                                                       Document      Page 45 of 50
B8 (Form 8) (12/08)

                                                                  United States Bankruptcy Court
                                                                                 District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                                      Case No.
                                                                                         Debtor(s)               Chapter      7


                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 HFC                                                                                       300 NW 126th Street
                                                                                           Lincoln, NE 68528

 Property will be (check one):
      Surrendered                                                           Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
      Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Jones National Bank & Trust                                                               310 NW 126th Street
                                                                                           Lincoln, NE 68528

 Property will be (check one):
      Surrendered                                                           Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
      Claimed as Exempt                                                                    Not claimed as exempt




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09            Desc Main
                                                                       Document      Page 46 of 50

B8 (Form 8) (12/08)                                                                                                                     Page 2
 Property No. 3

 Creditor's Name:                                                                        Describe Property Securing Debt:
 Jones National Bank & Trust                                                             310 NW 126th Street
                                                                                         Lincoln, NE 68528

 Property will be (check one):
      Surrendered                                                           Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
      Claimed as Exempt                                                                  Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                        Describe Property Securing Debt:
 M&I Bank FSB                                                                            300 NW 126th Street
                                                                                         Lincoln, NE 68528

 Property will be (check one):
      Surrendered                                                           Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
      Claimed as Exempt                                                                  Not claimed as exempt




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                             Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                      Desc Main
                                                                       Document      Page 47 of 50

B8 (Form 8) (12/08)                                                                                                                                  Page 3
 Property No. 5

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Nation Star Mortgage                                                                       300 NW 126th Street
                                                                                            Lincoln, NE 68528

 Property will be (check one):
      Surrendered                                                           Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
      Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                        Lease will be Assumed pursuant to 11
 -NONE-                                                                                                            U.S.C. § 365(p)(2):
                                                                                                                    YES             NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date March 16, 2012                                                           Signature   /s/ Jack Willard Duke, Jr.
                                                                                           Jack Willard Duke, Jr.
                                                                                           Debtor


 Date March 16, 2012                                                           Signature   /s/ Joy Lynne Duke
                                                                                           Joy Lynne Duke
                                                                                           Joint Debtor




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                        Desc Main
                                                                       Document      Page 48 of 50
                                                                  United States Bankruptcy Court
                                                                                 District of Nebraska
             Jack Willard Duke, Jr.
 In re       Joy Lynne Duke                                                                                           Case No.
                                                                                            Debtor(s)                 Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  1,099.00
              Prior to the filing of this statement I have received                                               $                   649.00
              Balance Due                                                                                         $                   450.00

2.     The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                  agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance
                  of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       March 16, 2012                                                                /s/ Gene T. Oglesby,
                                                                                            Gene T. Oglesby, #13122
                                                                                            Oglesby Law Offices, P.C.
                                                                                            650 "J" Street, Suite 400
                                                                                            Lincoln, NE 68508
                                                                                            (402) 476-3434 Fax: (402) 476-8002
                                                                                            oglesbylaw@alltel.net




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09    Desc Main
                                                                       Document      Page 49 of 50
B 201 (12/08)

                                                          UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF NEBRASKA

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types
of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                     Best Case Bankruptcy
             Case 12-40475-TLS                           Doc 7          Filed 03/16/12 Entered 03/16/12 11:00:09                  Desc Main
                                                                       Document      Page 50 of 50
B 201 (12/08)                                                                                                                                  Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Gene T. Oglesby, #13122                                                                   X /s/ Gene T. Oglesby,                 March 16, 2012
Printed Name of Attorney                                                                     Signature of Attorney                Date
Address:
650 "J" Street, Suite 400
Lincoln, NE 68508
(402) 476-3434
oglesbylaw@alltel.net

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Jack Willard Duke, Jr.
 Joy Lynne Duke                                                                            X /s/ Jack Willard Duke, Jr.           March 16, 2012
 Printed Name(s) of Debtor(s)                                                                Signature of Debtor                  Date

 Case No. (if known)                                                                       X /s/ Joy Lynne Duke                   March 16, 2012
                                                                                             Signature of Joint Debtor (if any)   Date




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
